50 F.3d 8
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kahill Kashon THORPE, Plaintiff--Appellant,v.Laurie F. BESSINGER, Warden for Kirkland Maximum Security(MSU) Unit;  J. D. Wessinger, Deputy Warden forMaximum Security Unit at KirklandCorrectional Institution,Defendants--Appellees.
    No. 94-7356.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 22, 1995.
    
      Kahill Kashon Thorpe, Appellant Pro Se.  Daniel Roy Settana, Jr., McKay, McKay, Henry &amp; Foster, P.A., Columbia, SC, for Appellees.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Thorpe v. Bessinger, No. CA-94-1019 (D.S.C. Oct. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    